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                      UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                   WESTERN DIVISION


CHARLESTON SHIPP                                JUDGMENT IN A CIVIL CASE

v.

VISIONS SPORTS BAR & GRILL, INC.,               CASE NO: 10-2598-A
MIKE FURFIK




DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the Order On
Damages entered on July 29, 2011, judgment is hereby entered for
plaintiff, Charleston Shipp, and against defendants, Visions Sports
Bar & Grill, Inc., and Mike Furfik; Plaintiff is awarded the amount
of $270,000.00 in damages. This cause is hereby dismissed.




APPROVED:


s/ S. Thomas Anderson
UNITED STATES DISTRICT COURT

DATE: 9/2/2011                                THOMAS M. GOULD
                                         Clerk of Court


                                                s/Terry L. Haley
                                         (By)    Deputy Clerk
